Case 1:22-cv-02111-CNS-STV Document 28 Filed 10/12/22 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-2111-REB-STV

  ROCKY MOUNTAIN GUN OWNERS,
  NATIONAL ASSOCIATION FOR GUN RIGHTS,
  BRYAN LAFONTE,
  CRAIG WRIGHT, and
  GORDON MADONNA

         Plaintiffs,

  v.

  CITY OF LOUISVILLE, COLORADO

         Defendant.

  ____________________________________________________________________________

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
  ____________________________________________________________________________

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs ROCKY

  MOUNTAIN GUN OWNERS, NATIONAL ASSOCIATION FOR GUN RIGHTS, BRYAN

  LAFONTE, CRAIG WRIGHT, and GORDON MADONNA hereby give notice that this action

  is voluntarily dismissed. Defendant CITY OF LOUISVILLE, COLORADO has not served an

  answer or motion for summary judgment in this action. Accordingly, Plaintiffs notice voluntary

  dismissal of this action, without prejudice. See Fed. R. Civ. P. 41(a)(1)(B).

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington
  Arrington Law Firm
  3801 East Florida Avenue, Suite 830
  Denver, Colorado 80210
  Voice: (303) 205-7870
  Email: barry@arringtonpc.com


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Case 1:22-cv-02111-CNS-STV Document 28 Filed 10/12/22 USDC Colorado Page 2 of 2




  Shaun Pearman
  The Pearman Law Firm, P.C.
  4195 Wadsworth Boulevard
  Wheat Ridge Colorado 80033
  Phone Number: (303) 991-7600
  Fax Number: (303) 991-7601
  E-mail: shaun@pearmanlawfirm.com

  Attorneys for Plaintiffs

                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2022, I electronically filed a true and correct copy of
  the foregoing with the Clerk of the Court using the CM/ECF system, which will send
  notification of such filing via email to parties of record.

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington




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